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           In the United States Court of Federal Claims
                                           No. 22-1446
                                     Filed: October 11, 2022

                                              )
 TE TE RAJ K. PATEL,                          )
                                              )
                        Plaintiff,            )
                                              )
 v.                                           )
                                              )
 THE UNITED STATES,                           )
                                              )
                        Defendant.            )
                                              )

                                            ORDER

         On October 3, 2022, plaintiff TE TE Raj K. Patel, proceeding pro se, filed a motion to
proceed in forma pauperis. See Motion to Proceed In Forma Pauperis, ECF No. 2. Pursuant to
Rule 77.1(c) of the Rules of the Court of Federal Claims, plaintiff is required to pay the full
filing fee of $402.00—a $350.00 filing fee plus a $52.00 administrative fee—or submit a proper
request to proceed in forma pauperis. After careful consideration, it is clear to the Court that
plaintiff is qualified to proceed in forma pauperis. Accordingly, plaintiff’s motion to proceed in
forma pauperis is hereby GRANTED.

       IT IS SO ORDERED.



                                                   s/   Loren A. Smith
                                                  Loren A. Smith,
                                                  Senior Judge
